                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER


 UNITED STATES OF AMERICA                               )
                                                        )        Case No. 4:13-cr-11
                                                        )
 v.                                                     )
                                                        )        MATTICE / LEE
 DARRYL T. BROWN                                        )


                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 20,

 2013. At the hearing, defendant moved to withdraw his not guilty plea to Count One of the thirty-

 four-count indictment and entered a plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to distribute and possess with intent to distribute five hundred (500)

 grams or more of a mixture and substance containing a detectable amount of cocaine and twenty-

 eight (28) grams or more of a mixture and substance containing cocaine base (“crack”), both

 Schedule II controlled substances, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B), in

 exchange for the undertakings made by the government in the written plea agreement. On the basis

 of the record made at the hearing, I find the defendant is fully capable and competent to enter an

 informed plea; the plea is made knowingly and with full understanding of each of the rights waived

 by defendant; the plea is made voluntarily and free from any force, threats, or promises, apart from

 the promises in the plea agreement; the defendant understands the nature of the charge and penalties

 provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, his plea of guilty to the lesser included offense of the charge in Count One, that is

 of conspiracy to distribute and possess with intent to distribute five hundred (500) grams or more



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 of a mixture and substance containing a detectable amount of cocaine and twenty-eight (28) grams

 or more of a mixture and substance containing cocaine base (“crack”), both Schedule II controlled

 substances, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B) be accepted, the Court

 adjudicate defendant guilty of the lesser included offense of the charge in Count One, that is of

 conspiracy to distribute and possess with intent to distribute five hundred (500) grams or more of

 a mixture and substance containing a detectable amount of cocaine and twenty-eight (28) grams or

 more of a mixture and substance containing cocaine base (“crack”), both Schedule II controlled

 substances, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(B), and a decision on whether to

 accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant remain

 in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance

 of the plea agreement, and imposition of sentence are specifically reserved for the district judge.

                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




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